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5     Attorney for Defendant
      DWAYNE LAMONT SLATER
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7
                                      UNITED STATES DISTRICT COURT
8
                                 EASTERN DISTRICT OF CALIFORNIA
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       UNITED STATES OF AMERICA,                    No. 2:03-CR-0371-MCE
13
                         Plaintiff,                 ORDER RE APPOINTMENT FOR MOTION
14                                                  TO REDUCE SENTENCE PURSUANT TO 18
              v.                                    U.S.C. § 3582(c)(1)(A)
15
       DWAYNE LAMONT SLATER,
16                                                  Hon. Morrison C. England, Jr.
                         Defendant.                 U.S. District Judge
17
18           Defendant Dwayne Lamont Slater, through counsel, hereby applies for an order
19    appointing attorney John Balazs as counsel of record with respect to a motion to reduce sentence
20    under 18 U.S.C. §§ 3582(c)(1)(A), nunc pro tunc to April 23, 2020 when counsel first started
21    working on this matter. Mr. Balazs had previously represented Mr. Slater in the underlying
22    criminal proceedings and with respect to a motion under 28 U.S.C. § 2255.
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1     The Office of the Federal Defender supports this appointment given its limited resources. See
2     General Order 595.
3                                          Respectfully submitted,
4     Dated: June 12, 2020
5                                          /s/ John Balazs
                                           John Balazs
6
                                           Attorney for Defendant
7                                          DWAYNE LAMONT SLATER

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9            IT IS SO ORDERED.

10    Dated: June 16, 2020

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